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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________

UNITED STATES OF AMERICA,                              :
                Plaintiff,                             :
                                                       :
                       v.                              :       Civil No. 5:20-cv-01382-JMG
                                                       :
SIGNKRAFTERS, LLC,                                     :
                  Defendants.                          :
__________________________________________

                                            NOTICE
                                  No Proof of Service on Docket


TO:    Plaintiff(s)

        A review of the Court’s records indicates that on March 11, 2020, Plaintiff filed a
Complaint in the United States District Court for the Eastern District of Pennsylvania. In order
to achieve the delay reduction goals set forth in the Civil Justice Reform Act of 1990, 28 U.S.C.
§§ 471-482, Plaintiff’s counsel is to serve the Summons and Complaint on all Defendants
promptly.

        The Docket does not indicate that Plaintiff has properly served Defendant(s) as of this
date. If you have already properly served Defendant(s), you are to promptly file proof of service
pursuant to Federal Rule of Civil Procedure 4(l). If you have not yet made proper service, you
are to promptly serve Defendant(s) and file proof of service with the Clerk of Court.

       If proof of service is not filed within thirty (30) days of the date of this Notice, the Court
must dismiss this action pursuant to Federal Rule of Civil Procedure 4(m).


                                                       KATE BARKMAN, Clerk of Court



                                                       By: /s/ Brian R. Dixon
                                                          Brian R. Dixon, Civil Deputy Clerk
                                                          For Judge John M. Gallagher


Date of Notice: August 12, 2020
